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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 STATE OF MISSOURI, et al.,
                       Plaintiffs,
               v.                                            No. 4:21-cv-01300-DDN
 JOSEPH R. BIDEN, et al.
                       Defendants.

                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all Defendants hereby appeal to the United States Court of

Appeals for the Eighth Circuit from this Court’s Opinion and Order, Doc. No. 36, granting Plain-

tiffs’ motion for a preliminary injunction, Doc. 8.



DATED: January 14, 2022                       Respectfully submitted,

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